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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WHITNEY BRYANT,                             :
                                            :
            Plaintiff,                      :
                                            :         CIVIL ACTION
            v.                              :
                                            :         NO. 17-1532
MONARCH RECOVERY                            :
MANAGEMENT, INC.,                           :
                                            :
            Defendant.                      :

                                        ORDER

      AND NOW, this _8th____ day of December, 2017, upon consideration of Plaintiff’s

Notice of Dismissal with Prejudice (Doc. 16), IT IS HEREBY ORDERED AND DECREED

that the above-captioned matter is DISMISSED WITH PREJUDICE.




                                                      BY THE COURT:

                                                      /s/ Petrese B. Tucker
                                                      ____________________________
                                                      Hon. Petrese B. Tucker, U.S.D.J.
